 

 

CaSe 2: 94- --cr ausszs- -:»

UNW§D STAT§S DISTR|CT C©UQT §;;>g_g 3 n
Western District of Tennessee ‘U§~:§E §§
QF_-:‘ :-;'J
United States of Arnerica ORDER HOLDING PROBA :H§ji<iER:j \
FoR REvocATIoN HEARI§~r-`_<_a§ §§
. . 5~»3?~16 v
Brandon Wllllams Case Number: 92-20338-Ma/Ph '

 

On Apri122, 2005, the defendant appeared before rne on a charge of violation of the terms
and conditions of his supervised release in this matter. The defendant was or had been advised
of his rights under Rules 5 and 32.1(a)(1), Federal Rules of Criminal Procedure, and counsel was
appointed

At this hearing, the defendant Was released on bond and therefore, a preliminary hearing

on the violation Was not required. See United States v. Sciuto, 531 F.2d 842, 846 (7th Cir. 1976);

 

United States v, Tucker, 524 F.Zd 77, 78 (5th Cir. 1975), cert. denied, 424 U.S. 966, 96 S.Ct.

 

1462, 47 L.Ed.2d 733(1976).

Accordingly, the defendant is held to a final revocation hearing before Judge Samuel Mays.
It is presumed that the United States District Court WiIl set this matter for a revocation hearing
pursuant to Federal Rule of Criminal Procedure 32.1(a)(2), and Will see that appropriate notices
are given.

§"7/:»,/17 dam

S. Thomas Anderson, United States Magistrate Jua'ge

Date.' VQ<_/ 2,(»»!, 2601/d

This document entered on the docket sheet m compliance
with Ruie 55 and/or 32(b) FRCrP on ‘?'OJ ap

      
  
  
 

  

  
 

UNITD sTATEs DRISTICT COURT - ESTER DISITRCT OF TENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 65 in
case 2:92-CR-20338 vvas distributed by faX, mail, or direct printing on
Apri129, 2005 to the parties listed.

 

 

K. Jayararnan

LAW OFFICES OF K. JAYARAMAN
147 Jefferson Avenue

Ste. 804

l\/lemphis7 TN 38103

Christopher E. Cotten

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Sarnuel Mays
US DISTRICT COURT

